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 NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)
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 ATTORNEY(S) FOR:

                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA
                                                                              CASE NUMBER:
NOMADIX, INC.,                                                                2:16-CV-08033 AB (FFMx)
                                                              Plaintiff(s),
                                     v.

GUEST TEK INTERACTIVE ENTERTAINMENT LTD.,                                                    CERTIFICATION AND NOTICE
                                                                                               OF INTERESTED PARTIES
                                                             Defendant(s)                           (Local Rule 7.1-1)


TO:      THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for Defendant Guest-Tek Interactive Entertainment, Ltd.
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                        PARTY                                                         CONNECTION / INTEREST
None other than the parties named as Plaintiff and Defendant




         March 20, 2017                                    s/ Michael R. Matthias
         Date                                              Signature


                                                           Attorney of record for (or name of party appearing in pro per):

                                                           Michael R. Matthias


CV-30 (05/13)                                           NOTICE OF INTERESTED PARTIES
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